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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

CHRISTOPHER MELTON MAIDT, )
                          )
             Plaintiff,   )
                          )
v.                        )                       Case No. CIV-16-11-R
                          )
OKLAHOMA CITY POLICE      )
DEPARTMENT,               )
                          )
             Defendant.   )

                                          ORDER

       Plaintiff has filed this pro se Complaint against Defendant Oklahoma City Police

Department alleging that “they stole from me, lied about me and to me.” See Civil Cover

Sheet. Plaintiff’s Motion for Leave to Proceed In Forma Pauperis has been granted, which

results in screening of this action pursuant to 28 U.S.C. § 1915.

       Section 1915(e)(2)(B) of the United States Code, Title 28, states as follows:

       (2) Notwithstanding any filing fee, or any portion thereof, that may have been
       paid, the court shall dismiss the case at any time if the court determines that—
                                               ***
       (B) the action or appeal—
               (i) is frivolous or malicious;
               (ii) fails to state claim on which relief may be granted; or
               (iii) seeks monetary relief against a defendant who is immune
               from such relief.
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28 U.S.C. § 1915(e)(2)(B).1 A complaint is frivolous "where it lacks an arguable basis in

either law or fact." Although sua sponte dismissals are generally disfavored by the courts,

the court may dismiss an action pursuant to 28 U.S.C. § 1915(e)(2) “for failure to state a

claim if the allegations, taken as true, show the plaintiff is not entitled to relief.” Zapata v.

Public Defenders Office, 252 Fed.Appx. 237, 238 (10th Cir.2007) (quoting Jones v. Bock,

549 U.S. 199, 127 S.Ct. 910, 920 (2007)).

       The Court has fulfilled its obligation to screen Plaintiff's complaint and finds that he

has failed to state a claim against Defendant. The Court further concludes that amendment

would be futile, even giving liberal construction to his allegations. As such, his Complaint

is hereby DISMISSED.

       IT IS SO ORDERED this 20th day of January, 2016.




       1
        Although Plaintiff is apparently not a prisoner as defined by 28 U.S.C. § 1915:
                "'[s]ection 1915(a) applies to all persons applying for IFP status, and not
               just to prisoners.'" Salgado-Toribio v. Holder, 713 F.3d 1267, 1270 (10th
               Cir.2013) (alteration in original) (quoting Lister v. Dep't of Treasury, 408
               F.3d 1309, 1312 (10th Cir.2005)).
       Judy v. Obama, 601 F. App'x 620, 621 (10th Cir. 2015).

                                                    2
